                     Case: 3:25-mj-00056-PBS Doc #: 7 Filed: 02/11/25 Page: 1 of 1 PAGEID #: 29
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)

                                                                      Return
Case No.:                                Date and time warrant executed:          Copy of warrant and inventory left with:
             3:25-mj-56
                                           February 4, 2025 2:28pm                     Office
Inventory made in the presence of :
                                                 Inspector Rossiter
Inventory of the property taken and name of any person(s) seized:



                    Inventory taken, nothing seized




                                                                  Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:        February 4, 2025
                                                                                         Executing officer’s signature

                                                                           Sean C. Humphrey/TFO USPIS
                                                                                            Printed name and title
